

Matter of Scharf (2024 NY Slip Op 03123)





Matter of Scharf


2024 NY Slip Op 03123


Decided on June 6, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 6, 2024

PM-117-24
[*1]In the Matter of Randel Aaron Scharf, a Suspended Attorney. (Attorney Registration No. 2365757.)

Calendar Date:May 6, 2024

Before:Egan Jr., J.P., Clark, Pritzker, Ceresia and McShan, JJ., concur. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Lauren S. Cousineau of counsel), for Attorney Grievance Committee for the Third Judicial Department.
Randel Aaron Scharf, Cooperstown, respondent pro se.



By September 14, 2023 order, this Court suspended respondent from the practice of law until further order of this Court, stayed the ongoing investigation of respondent's conduct by the Attorney Grievance Committee for the Third Judicial Department and appointed the Otsego County Bar Association as limited custodian of respondent's client files. The Otsego County Bar Association has since provided this Court with status reports pursuant to this Court's order. By April 18, 2024 order, upon our own motion, this Court modified our prior order in part and vacated the stay of the investigation of respondent's conduct by the Attorney Grievance Committee.
Now, upon the Court's own motion, and due deliberation having been had, it is
ORDERED that the Otsego County Bar Association is hereby relieved of its appointment as limited custodian of respondent's client files.
Egan Jr., J.P., Clark, Pritzker, Ceresia and McShan, JJ., concur.








